Case: 1:18-cv-01493 Document #: 10 Filed: 03/16/18 Page 1 of 4 PageID #:20




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Case: 1:18-cv-01493 Document #: 10 Filed: 03/16/18 Page 2 of 4 PageID #:20
Case: 1:18-cv-01493 Document #: 10 Filed: 03/16/18 Page 3 of 4 PageID #:20
Case: 1:18-cv-01493 Document #: 10 Filed: 03/16/18 Page 4 of 4 PageID #:20
